Case 2:17-Cr-00393-I\/|WF |jocument 1-1 Filed 06/05/17 Page 1 of 24 Page |D #:16

D. ASHELY, BELL, and JONES Do Not Have Federal Fireamns
Licenses
15. Based on my involvement in this investigation, as Well

as conversations With other law enforcement agents involved in
the investigation, l am aware of the following:

a. As of May 22, 2017, and based on a query of the
ATF's National Licensing Center’s Federal Licensing System by
ATF Special Agent Larry Wozniak! ASHLEY, BELL, and JONES do not
have Federal Firearms Licenses;

b. On May ll, 2017, Special Agent Wozniak queried
the National Firearms Registration and Transfer Record for
results pertaining to ASHELY, BELL, and JONES. The results of
this query show that ASHLEY, BELL, and JONES have no approved
applications for the transfer of any Weapons that require NFA
approval (i.e. fully automatic firearms).

E. Additional Investigation of the SUBJECT VEHICLE and

SUBJECT PREMISES

16. Based on my personal involvement in this investigation
and discussions With other agents, I am aware of the following:

a. On August 31, 2016, during a traffic stop of the
SUBJECT VEHICLE, ASHLEY Was found in possession of a semi~
automatic Sig Sauer .40 caliber hand gun.

z b. On November 21, 2016, ASHLEY pled nolo contendere
to a violation of California Penal Code section 25850la),

carrying a loaded firearm in public.

15
[Instrumentality Protocol]

Case 2:.17-Cr-00393-I\/|WF Documenf 1-1 Filed 06/05/17 Page 2 of 24 Page |D #:17

17. Based on my personal involvement in this investigation
and discussions with other agents, I am aware of the following:
a. On October 6, 2016, the Hon. Steven Kim, United
States Magistrate Judge, authorized the installation of a GPS
tracking device on the SUBJECT VEHICLE. On October ll, 2016, a
GPS tracking device was installed on the SUBJECT VEHICLE while
parked in front of the SUBJECT PREMISES.
b.l During the monitoring period from October ll,
2016, to November 25, 2016, the GPS tracking device showed the
SUBJECT VEHICLE parked at the SUBJECT PREMISES on a majority of
the nights.€_
v c. At the time the GPS tracking device was removed
from the SUBJECT VEHICLE, it was parked in front of the SUBJECT
PREMISES . n
18. Based on my personal involvement in this investigation
and discussions with other agents, I am aware of the following:
a. On March 8, 2016, law enforcement conducted
surveillance of the SUBJECT PREMISES, during which the SUBJECT
VEHICLE was seen parked in front of the SUBJECT PREMISES. Law
enforcement also observed ASHLEY and an unidentified male exit
the SUBJECT PREMISES and enter a Chevrolet Camaro parked in the
driveway of the SUBJECT PREMISES.
19. Based on my review of public records, I am aware that
the SUBJECT PREMISES is owned by “Ed DiXie.” Based on law

enforcement investigation and surveillance, there is no

 

6 The SUBJECT VEHICLE is registered to ASHLEY at the
_ SUBJECT PREMISES .

l6
[Instrumentality Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 3 of 24 Page |D #:18

indication that an individual known as “Ed-Dixie” currently
lives at the SUBJECT PREMISES. Rather, public records indicate
that since 1998, ASHLEY has listed the SUBJECT PREMISES as his
residence. t

20. Based on my review of California Department of Motor
Vehicles (“DMV”) records, I am aware of the following:

a. ASHLEY's current California driver’s license
lists his address as the SUBJECT PREMISES, with an application
date of September 8, 2011.

b; A review of DMV databases for vehicle
registration records associated with ASHLEY indicates that the
SUBJECT_VEHICLE is registered tO ASHLEY at the SUBJECT PREMISES.
F. Training and Experience Regarding Firearms and Narcotics

Traffickers Use of Home and Car

21. Based on my training and experience, as well as the
training and experience of other investigators in this case with
whom I have consulted, l am familiar with the modus operandi of
persons involved in the illegal distribution of narcotics and
firearms. Based on this, I familiar_with the following:

a. Persons involved in illicit distribution of
narcotics or firearms routinely attempt to conceal their
identities as well as the location at which drug/gun
transactions take place. These people are also.known to have
vehicles, properties, telephones, utilities, and other items

purchased in the names of others, and through the use of stolen

l7
[Instrumentality Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 4 of 24 Page |D #:19

identities, in order to conceal the association of drug/gun
activities with their true identity and financial transactions.

br Individuals engaged in organized narcotics and
firearms distribution and sales maintain extensive contact with
persons from whom they receive drugs/guns and with whom they
distribute these drugs/guns, and in doing so, often utilize
coded language to disguise their activity.

c. Narcotics and firearm traffickers maintain on
hand large amounts of U.S: currency, as proceeds of their gun
and drug sales, in order to maintain and finance their ongoing
narcotics activities and other businesses, as well as paying for
vehicles, clothing, jewelry, firearms, entertainment, living
expenses, bills, acquiring assets, and making other purchases.

d. Persons engaged in narcotics and firearms
trafficking conceal in their vehicles and residences, the
residences of their associates, residences of family members,
and associated businesses or other locations where the offenders
rmay hang~out, proceeds of their drug and gun transactions to
include, records of drug/gun transactions, large amounts of
currency, money counters, financial instrumentsy precious metals
and gems, jewelry, stolen or counterfeit goods, and other itemsv
of value.

e. Persons engaged in narcotics trafficking conceal
in their vehicles and residences, the residences of their
associates, residences of family members, and associated`

businesses or other locations where the offenders may hang~out,

18
[Instrumentality Protocol]v

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 5 of 24 Page |D #:20

various amounts and types of narcotics, scales, vials, blenders,
baggies,`bindles, balloons, foil, plastic wrap, cutting agents
and adulterants, cutting boards, cutting and mixing tools, and
other items used in preparing, manufacturing, packaging;
distributing, transporting, and selling narcotics, as well as
items such as pipes, tubes, syringes, spoons and items used to
mix, administer, ingest, inhale, or otherwise use the narcotics,

f. Persons engaged in narcotics and firearms
trafficking conceal_in their vehicles and residences, the
residences of their associates, residences of family members,
and associated businesses or other locations where the offenders
may hang-out, firearms, magazines, ammunition, weapons
cases/bags, knives, and other weapons and weapon accessories.
Additionally, these offenders commonly keep these items in
nearby bushes, planter boxes, trash cans, barbeque grills,
bumpers and tire wells of vehicles, and other similar locations
outside of the residences and business, in easy-to~reach
locations in and around their area of operation.

g. Most firearms kept and/or made accessible to gang
members and drug/gun traffickers are not registered to the
offender and the firearm may be modified._ Furthermore, it is
common for drug/gun traffickers to carry and or use firearms in
furtherance of drug/gun transactions and other violent crimes.

h. 7 Individuals involved in firearms and narcotics
trafficking often maintain records linking them to their

trafficking and that these records may include records of

l 9 -
[Instrumentality Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed'06/05/17 Page 6 of 24 Page |D #:21

firearms and/or narcotics customers and associates, sales,
debts, and shipments. The records/documents may include
receipts of wire transfer transactions, banking/ATM receipts,
shipping receipts from postal and shipping businesses, telephone
records, telephone books which identify customers and/or co~
conspirators, and photographs of co-conspirators. Even if off-
site locations are used to store the above records, some
evidence such as safety deposit keys, records, and receipts
and/or documents regarding multi-warehouses, storage facilities,
mail and answering services may be present.

i. Individuals involved in firearms and narcotics
trafficking heavily utilize cellular telephones and other
electronic devices to communicate with one another and that
these devices often contain indicia of the identity of
individual and his/her associates, as well as their criminal
activity, including but not limited to, call logs, voicemail
messages, text messages, electronic messages (e-mail),
photographs, videos, address books, calendars, notes, and
_ledgers.

j. Individuals involved in narcotics and firearms
trafficking often utilize social networking websites on the
internet, which are commonly accessed via cellular telephones,
to communicate with one another, and post comments, pictures,
videos, and music related to their membership and activity in

the gang and/or their drug/gun trafficking activity.

20
[Instrumentality Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 ’Filed 06/05/17 Page 7 of 24 Page |D #:22

v

G. Training and Experience Regarding Digital Devices

22. Based on my knowledge, training, and experience, as
well as information related to me by agents and others involved
in the forensic examination of digital devices, I know that it
is not always possible to search digital devices for digital
data in a single day or even over several weeks for a number of
reasonsb including the following:

a. Searching digital devices can be a highly
technical process that requires specific expertise and
specialized equipment. There are so many types of digital
devices and software programs in use today that it takes time to
conduct a thorough search. In addition, it may be necessary to
` consult with specially trained personnel who have specific
expertise in the type of digital device, operating systemy and
software application being searched.

b. Digital data is particularly vulnerable to
inadvertent or intentional modification or destruction.
Searching digital devices can require the use of precise,
scientific procedures that are designed to maintain the
integrity of digital data and to recover “hidden,” erased,
compressed, encrypted, or password¢protected data. As a result,
a controlled environment, such as a law enforcement laboratory
or similar facility, is essential to conducting a complete and
accurate analysis of data stored on digital devices.

c. The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

21
[Instrumentality Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 8 of 24 Page |D #:-23

search for data during the execution of the physical search of
the premises. A single megabyte of storage space is the
equivalent of 500 double~spaced pages of text. A single
gigabyte of storage space, or l,OOO megabytes, is the equivalent
of 500,000 double-spaced pages of text. Storage devices capable
of storing 500 gigabytes (GB) of data are now commonplace in
desktop computers. Consequently, each non~networked, desktop
computer found during a search can easily contain the equivalent
of 240 million pages of data, that, if printed out, would
completely fill three 35’ x 35' x lO' rooms to the ceiling.
Further, a 500 GB drive could contain as many as approximately
450 full run movies or 450,000 songs.

d. Electronic files or remnants of such files can be
recovered months or even years after they have been downloaded
onto a hard drive, deleted, or viewed via the Internet.
Electronic files saved to'a hard drive can be stored for years
with little or no cost. Even when such files have been deleted,
they can be recovered months or years later using readily-
available forensics tools. Normally, when a person deletes a
file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the hard drive
until it is overwritten by new data. Therefore, deleted files,
or remnants of deleted files, may reside in free space or slack
t space, i.e./ space on a hard drive that is not-allocated to an
active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

22
[Instrumentality'Protocol]

Case 2:17-Cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 9 of 24 Page |D #:24

they are overwritten. In addition, a computer's or digital
device's operating system may also keep a record of deleted data
in a swap or recovery file. Similarly, files that have been

' viewed on the Internet are often automatically downloaded into a
temporary directory or cache. The browser typically maintains a
fixed amount of hard drive space devoted to these files, and the
files are only overwritten as they are replaced with more
recently downloaded or viewed content. Thus, the ability to
retrieve residue of an electronic file from a hard drive depends
less on when the file was downloaded or viewed than on a
particular user’s operating system, storage capacity, and
computer habits. Recovery of residue of electronic files from a
hard drive requires specialized tools and a controlled_
laboratory environment. Recovery also can require substantial
time.

e. Although some of the records called for by this
warrant might be found in the form of user-generated documents
(such as word processing, picture, and movie files), digital
devices can contain other forms of electronic evidence as well.
In particular, records of how a digital device has been used,
what it has been used for, who has used it, and who has been
responsible for creating or maintaining records, documents,
programs, applications and materials contained on the digital
devices are, as described further in the attachments, called for
by this warrant. Those records will not always be found in

digital data that is neatly segregable from the hard drive image

23
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 10 of 24 Page |D #:25

as a whole. Digital data on the hard drive not currently
associated with any file can provide evidence of a file that was
once on the hard drive but has since been deleted or edited, or
of a deleted portion of a file (such as a paragraph that has
been deleted from a word processing file). Virtual memory
paging systems can leave digital data on the hard drive that
show what tasks and processes on the computer were recently
used. Web browsers, e-mail programs, and chat programs often
store configuration data on the hard drive that can reveal
information such as online nicknames and passwords. Operating
systems can record additional data, such as the attachment of
peripherals, the attachment of USB flash storage devices, and{
the times the computer was in use. Computer file systems can
record data about the dates files were created and the sequence
in which they were created. This data can be evidence of a
crime, indicate the identity of the user of the digital device,
or point toward the existence of evidence in other locations.
Recovery of this data requires specialized tools and a
controlled laboratory environment, and also can require
substantial time.

f. Further, evidence of how a digital device has
been used, what it has been used for, and who has used it, may
be the absence of particular data on a digital device. For
example, to rebut a claim that the owner of a digital device was
not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

2 4 '
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 11 of 24 Page |D #:26

necessary to show that malicious software that allows someone
else to control the digital device remotely is not present on
the digital device. Evidence of the absence of particular data
on a digital device is not segregable from the digital device.
Analysis of the digital device as a whole to demonstrate the
absence of particular data requires specialized tools and a
controlled laboratory environment,.and can require substantial
time.

g. `Other than what has been described herein, to my
knowledge, the 0nited States has not attempted to obtain this
data by other means.

REQUEST FOR NO KNOCK AND NIGHTTIME SERVICE

 

23. I request that the Court authorize investigators to
serve this warrant during the nighttime, as set forth under Fed.
R. Crim. Proc. 41(e)(2)(A)(ii)._ Good cause exists because the
SUBJECT PREMISES is associated with an individual who is
suspected of firearms possession and trafficking. Given the
holding set forth in Gooding v. United_States, 416 U.S. 430
(1974), that there is no need for the presence of exigent
circumstances in narcotics cases to justify a nighttime search,
I believe that nighttime service is warranted in this case. In
addition, nighttime service is justified in this case given the
nature of the location being entered. Law enforcement believes
firearms are located at the SUBJECT PREMISES and/or the SUBJECT
VEHICLE, both of which are located inside a fenced-in area.\ If

law enforcement were to execute this warrant during the day

25
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 12 of 24 Page |D #:27

time, it would be very hard for law enforcement to evade
detection and would, thus, pose a risk for officer safety.

24. For the same reasons, including the safety concerns
based on ASHLEY’s suspected weapons possession, I am requesting
authorization for a “no-knock entry” of the SUBJECT
PREMISES. Based on the evidence described above, I believe
knocking and announcing entry would be dangerous to the agents

serving the warrant and would also allow the destruction of`

evidence.
CONCLUSION
25. For all the reasons described above, there is probable

cause to believe that evidence of violations of the SUBJECT
OFFENSES, as described above and in Attachment B of this
affidavit, will be found in a search of the SUBJECT PREMISES, as

further described above and in Attachment A of this affidavit.

/§/

 

Christopher Rumph,
Special Agent, Drug
Enforcement Administration

Subscribed to and sworn before me

this S'H" day of , 201-7.
945

STEVE KlM

 

UNITED STATES MAGISTRATE JUDGE

26
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF 'Document 1-1 Filed 06/05/17 Page 13 of 24 Page |D #:28

ATTACHMENT A-l

PREMISES TO BE SEARCHED

 

,<

The premises is located at 1318 North Chester Avenue,
Compton, California, 90221 (the “SUBJECT PREMISES”), including
all garages and storage areas which are assigned to SUBJECT
PREMISES, whether attached to or detached from SUBJECT PREMISES.
The SUBJECT PREMISES is further described as a pale pink
residence with a front yard separated from the sidewalk by a
metal gatey a driveway running alongside the main structure, and
a backyard which contains an outbuilding. The SUBJECT PREMISES

is further depicted in the photographs below.

u'¢»:r.;~‘:.v-¢,--' ,\‘ k ':,»: - 5 X

4 51 .;\1_~.1';'+..¢.9=<,)'..~»~\~‘= .' .,;'. s _ » .». =.:. ' , " ¢ ;

 

 

_[Instrumentality Protocol]

 

Case 2:17-cr-00393-I\/|WF Do'Cum'ent 1-1 Filed 06/05/17 Pag,e 14 of 24 Page |D #:29

ATTACI'IMENT A- 1

 

ii
[Instrumentality Protocol]

 

Case 2:17-cr-00393-MWF Document 1-1 Filed 06/05/17- Page 15 of 24 Page |D #:30

v ATTACHMENT A-Z
PROPERTY TO BE SEARCHED
The property to be searched is a gold 2007 Buick Lucerne
bearing Vehicle ldentification Number 1G4HD57267U152262,
yCalifornia license plate number 7UCU803, and registered to

“Marquis C. Ashley,” at 1318 Chester Ave., Compton, California,

90221.

iii
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 16 of 24 Page |D #:31

ATTACHMENT B

ITEMS TO BE SEIZED

 

1. The items to be seized from the SUBJECT PREMISES are
the fruits, instrumentalities, and evidence of violations of the
following offenses 18 U.S.C. § 371, dealing firearm without a
license, in violation of 18 U.S.C. § 922(a), possession of
unregistered firearms, in violation of 26 U.S.C. § 5861(d), and

conspiracy to distribute narcotics, in violation of 21 U.S.C.

§ 845 (collectively, the “Subject Offenses”), namely:
a. Any controlled substance, including
phencyclidine;
b. Materials and equipment used to package

controlled substances, including but not limited to, plastic
wrap, shrink wrap materials, tape, odor-disguising substances,
and scales;

c. Materials and equipment used to package or
transport currency including, but not limited to, plastic wrap,
shrink wrap materials, money-counting machines, money wrappers,
rubber bands, duct tape or wrapping tape, and plastic sealing
machines; . 4

d. Any documents or materials reflecting or relating
to the shipment of packages through Federal Express, the United
States Postal Service, or other common carriers, including, but
not limited to, packaging supplies, packing slips, tracking

numbers, and receipts.

iv
[Instrumentality Protocol]

Case 2:17-cr`-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 17 of 24 Page |D #:32

e. Any records, documents, programs, applications,
or materials showing payment, receipt, concealment, transfer, or
movement of money generated from the sale of controlled
substances, including but not limited to, documents written in
-vague or coded language, bank account records, wire transfer
records, bank statements, pay-owe sheets, receipts, safe deposit
box keys and records, money containers, financial records, and
related documents;

f. Any drug or money ledgers, drug distribution or
customer lists, drug supplier lists, correspondence, notations,
logsJ receipts, journals, books, records and other documents
noting the price, quantity, and/or times when controlled
substances were obtained, transferred, sold, distributed, and/or
concealed; l

g. Any United States currency over $1,000 or bearer
instruments worth over $1,000 (including cashier’s checks and
traveler's checks);

h. Any records, documents, programs, applications,
or materials reflecting the purchase or lease of real estate,
vehicles, precious metals, jewelry, or other items commonly
obtained with the proceeds of drug trafficking activities;

i. `Items`of personal property reflecting names,
addresses, telephone numbers, or communications of members or
associates involved in drug trafficking activities; including,
but not limited to, personal telephone books, address books,

telephone bills, photographs, videotapes, facsimiles, personal

[Instrumentality Protocol]

CaSe 2:17-Cr-00393-|\/|WF Document 1-1 Filed 06/05/17 Page 18 of 24 Page |D #:33`

notes, cables, telegrams, receipts, and documents and other
items; 4

j. Any weapons, including but not limited to:
knives, firearms (including pistolsy handguns, shotguns, rifles,
assault weapons, and machine guns), firearm magazines, firearm
components (including components or tools which can be used to
modify firearms or ammunition), firearm accessories, ammunition,
and tools used for the manufacture of ammunition (including
reloading devices, dies, scales, books, pamphlets, and
documentation);

ki Any documentation, records, receipts, luggage
tags, boarding passes, or the like, relating to the movement,
transportation, or shipment of firearms;

`l. Any documentation, records, receipts,
certification, licenses, or the like, relating to the sale,
transfer, purchase, or movement of firearms;

m. Any bills and/or subscriber documents related to
digital devices used to facilitate the.Subject Offenses;

n. Any indicia of occupancy, residency, or ownership
of the premises to be searched and things described in the
warrant, including, but not limited to: forms of personal
identification; records relating to utility bills, telephone
bills, loan payment receipts, rent receipts, trust deeds, lease
or rental agreements, addressed envelopes, escrow documents,

keys, letters, mail, canceled mail envelopes, or clothing; and

vi
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Pag'|e 19 of 24 Page |D #:34

o. Any digital device used to facilitate the above~
listed violations and forensic copies thereof.

p. With respect to any digital device used to
facilitate the above-listed Subject Offenses or containing
evidence falling'within the scope of the foregoing categories of
items to be seized:

i. Evidence of who used, owned, or controlled
the device at the time the things described in this warrant were
created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents,

' browsing history, user profiles, e-mail, e-mail contacts, chat
and instant messaging logs, photographs, and correspondence;

ii. Evidence of the presence or absence of
software that would allow others to control the device, such as
viruses, Trojan horses, and other forms of malicious software,
as well as evidence of the presence or absence of security
software designed to detect malicious software;

_iii. Evidence of the attachment of other devices;

iv. Evidence of counter-forensic programs (and
associated data) that are designed to eliminate data from the
device;

v. Evidence of the times the device was used;

vi. Passwords, encryption keys, and other access
devices that may be necessary to access the device;

vii. Applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

vii
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF` Document 1-1 Filed 06/05/17 Page 20 of 24 Page |D #:35

manuals, that may be necessary to access the device or to
conduct a forensic examination of it;

viii._ Records of or information about
Internet Protocol addresses used by the device; and

ix. Records of or information about the devicefs
Internet activity, including firewall logs, caches, browser
history and cookies, “bookmarked” or “favorite” web pages,
search terms that the user entered into any Internet search
engine, and records of user~typed web addresses,

2. As used herein, the terms “records,” “documents,”
“programs,” “applications,” and “materials” include records,
documents, programs, applications, and materials created,
modified, or stored in any form, including in digital form on
any digital device and any forensic copies thereof.

3. As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
telephone paging devices, beepers, mobile telephones, and smart
phones; digital cameras; peripheral input/output devices, such
as keyboards, printers, scanners, plotters, monitors, and drives
intended for removable media; related communications devices,
such as modems, routers, cables, and connections; storage media,

such as hard disk drives, floppy disks, memory cards, optical

viii
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 21 of 24 Page |D #:36

disks, and magnetic tapes used to store digital data (excluding
analog tapes such as VHS); and security devices.
SEARCI-I PROCEDURE FOR DIGITAL DEVICES

4. In searching digital devices or forensic copies
thereof, law enforcement personnel executing this search warrant
will employ the following procedure:

4 a. Law enforcement personnel or other individuals
assisting law enforcement personnel (the “search team”) will, in
their discretion, either search the digital device(s) on-site or
seize and transport the device(s) to an appropriate law
enforcement laboratory or similar facility to be searched at
that location. The search_team shall complete the search as
soon as is practicable but not to exceed 60 days from the date
of execution of the warrant. If additional time is needed, the
government may seek an extension of this time period from the
Court on or before the date by which the search was to have been
completed.

b. The search team will conduct the search only by
using search protocols specifically chosen to identify only the
specific items to be seized under this warrant.

4 i. The search team may subject all of the data
contained in each digital device capable of containing any of
the items to be seized to the search protocols to determine
whether the device and any data thereon falls within the list of
items to be seized. The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

ix
[Instrumentality Protocol]

`Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 22 of 24 Page |D #:37

determine, pursuant to the search protocols, whether the data
falls within the list of items to be seized.

ii. The search team may use tools to exclude
normal operating system files and standard third-party software
that do not need to be searched.

c. When searching a digital device pursuant to the
specific search protocols selected, the search team shall make
and retain notes regarding how the search was conducted pursuant
to the selected protocols,

d. If the search team, while searching a digital
device, encounters immediately apparent contraband or other
evidence of a crime outside the scope of the items to be seized,
the team shall immediately discontinue its search of that device
pending further order of the Court and shall make and retain
notes detailing how the contraband or other evidence of a crime
was encountered, including how it was immediately apparent
contraband or evidence of a crime,

e. If the search determines that a digital device
does not contain any data falling within the list of items to be
seized, the government will, as soon as is practicable, return
the device and delete or destroy all forensic copies thereof.

f. If the search determines that a digital device
does contain data falling within the list of items to be seized,
the government may make and retain copies of such data, and may

access such data at any time.

[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Filed 06/05/17 Page 23 of 24 Page |D #:38

g. If the search determines that a digital device is
(1) itself an item to be seized and/or (2) contains data falling
within the list of items to be seized, the government may retain
forensic copies of the digital device but may not access them
(after the time for searching the device has expired) absent
further court order1 v

h. The government may retain a digital device itself
until further order of the Court or one year after the
conclusion of the criminal investigation or case (whichever is
latest), only if the device is determined to be an
instrumentality of an offense under investigation or the
government, within 14 days following the time period authorized
by the Court for completing the search, obtains an order from
the Court authorizing retention of the device (or while an
application for such an order is pending). Otherwise, the
government must return the device.

i. Notwithstanding the above, after the completion y
of the search of the digital devices, the government shall not
access digital data falling outside the scope of the items to be
seized absent further order of.the Court.

5. In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are
authorized to seize the following items:

a. Any digital device capable of being used to
commit, further or store'evidence of the offense(s) listed

above;

xi
[Instrumentality Protocol]

Case 2:17-cr-00393-I\/|WF Document 1-1 Fi|e_d 06/05/17 Page 24 of 24 Page |D #:39

b. Any equipment used to facilitate the
transmission, creation, display, encoding, or storage of digital
data;

c. Any magnetic, electronic, or optical storage
device capable of storing digital data;

d. Any documentation, operating logs, or reference
manuals regarding the operation of the digital device or
software used in the digital device;

e. Any applications, utility programs, compilers,
interpretersv or other software used to facilitate direct or
indirect communication with the digital device;

f. Any physical keys, encryption devices, dongles,
or similar physical items that are necessary to gain access to
the digital device or data stored on`the digital device; and

g. Any passwords, password files, test keys,-
encryption codes, or other information necessary to access the

`digital device or data stored on the digital device.

6. The special procedures relating to digital devices
found in this warrant govern only the search of digital devices
pursuant to the authority conferred by this warrant and do not
apply to any search of digital devices pursuant to any other

court order.

xii
[Instrumentality Protocol]

